
PER CURIAM.
Larry Kelsey O'Brien appeals an order summarily denying his Florida Rule of Criminal Procedure 3.801 motion seeking an additional one hundred seventy days of jail credit. Based on the State's concession that the subject order is defective for failure to comply with the requirements of Florida Rule of Criminal Procedure 3.850(f), we reverse the order and remand for proceedings and adjudication pursuant to the applicable provisions of rule 3.850.1
Reversed and remanded with instructions.

Rule 3.801 expressly incorporates portions of rule 3.850 into a proceeding conducted on a motion for correction of jail credit. See Fla. R. Crim. P. 3.801(e) ("The following subdivisions of Florida Rule of Criminal Procedure 3.850 apply to proceedings under this rule: 3.850(e), (f), (j), (k) and (n).").

